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 9 Proposed Lead Class Counsel
     Additional counsel listed on signature page
10
                           UNITED STATES DISTRICT COURT
11
            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12
     CITY OF LONG BEACH, a municipal                   CASE NO.: 2:16-cv-03493-FMO-AS
13   corporation; COUNTY OF LOS
14   ANGELES, a political subdivision; CITY            NOTICE OF MOTION AND MOTION
     OF CHULA VISTA, a municipal                       FOR CERTIFICATION OF
15   corporation; CITY OF SAN DIEGO, a                 SETTLEMENT CLASS,
     municipal corporation; CITY OF SAN                PRELIMINARY APPROVAL OF
16   JOSE, a municipal corporation; CITY OF            CLASS ACTION SETTLEMENT,
                                                       APPROVAL OF NOTICE PLAN,
17
     OAKLAND, a municipal corporation;                 APPOINTMENT OF CLASS ACTION
     CITY OF BERKELEY, a municipal                     SETTLEMENT ADMINISTRATOR,
18   corporation; CITY OF SPOKANE, a                   AND APPOINTMENT OF CLASS
     municipal corporation; CITY OF                    COUNSEL
19   TACOMA, a municipal corporation;
     CITY OF PORTLAND, a municipal                     [Filed Concurrently with Memorandum of
20   corporation; PORT OF PORTLAND, a                  Points and Authorities; Proposed Order]
21   port district of the State of Oregon;
     BALTIMORE COUNTY, a political                     Time of Hearing: 10:00 a.m.
22   subdivision; MAYOR AND CITY                       Date of Hearing: September 17, 2020
     COUNCIL OF BALTIMORE; all
23   individually and on behalf of all others          Courtroom: 6D
     similarly situated,                               Honorable Fernando M. Olguin
24
                                    Plaintiffs,
25   v.                                                File Date:       May 19, 2016
                                                       Trial Date:      May 11, 2021
26
     MONSANTO COMPANY; SOLUTIA
27   INC., and PHARMACIA LLC, and DOES
     1 through 100,
28                         Defendants.
                                                   1
                                                                     CASE NO.: 2:16-cv-03493-FMO-AS
                                                                       MOTION FOR CERTIFICATION
Case 2:16-cv-03493-FMO-AS Document 213 Filed 08/07/20 Page 2 of 2 Page ID #:6513




 1         PLEASE TAKE NOTICE that on September 17, 2020, at 10:00 a.m., or as soon
 2 thereafter as the matter may be heard before the Honorable Fernando M. Olguin, in

 3 Courtroom 6D of the United States Courthouse, 350 West First Street Los Angeles, CA

 4 90012, Plaintiffs City of Long Beach, County of Los Angeles, City of Chula Vista, City

 5 of San Diego, City of San Jose, City of Oakland, City of Berkeley, City of Spokane, City

 6 of Tacoma, City of Portland, Port of Portland, Baltimore County, Mayor and City Council

 7 of Baltimore; all individually and on behalf of all others similarly situated, will and hereby

 8 do move the Court for an order for         Certification of Settlement Class, Preliminary
 9 Approval of Class Action Settlement, Approval of Notice Plan, Appointment of Class

10 Action Settlement Administrator, and Appointment of Class Counsel. This motion is

11 made following the conference of counsel pursuant to L.R. 7-3, which took place on June

12 16, 2020.

13        This motion is based on this Notice and the supporting Memorandum of Points and
14 Authorities, including attached declarations.

15
                                            Respectfully submitted,
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     Date: August 7, 2020                   /s/ John Fiske
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                                            Attorneys for Plaintiffs and the Class
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                                                 2
                                                                CASE NO.: 2:16-cv-03493-FMO-AS
                                                                  MOTION FOR CERTIFICATION
